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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF RHODE ISLAND


  STATE OF NEW YORK; STATE OF CALIFORNIA;
  STATE OF ILLINOIS; STATE OF RHODE ISLAND;
  STATE OF NEW JERSEY; COMMONWEALTH OF
  MASSACHUSETTS; STATE OF ARIZONA; STATE OF
  COLORADO; STATE OF CONNECTICUT; STATE OF
  DELAWARE; THE DISTRICT OF COLUMBIA; STATE                     C.A. No. 1:25-cv-00039-JJM-PAS
  OF HAWAI’I; OFFICE OF THE GOVERNOR ex rel.
  Andy Beshear, in his official capacity as Governor of the
  Commonwealth of Kentucky; STATE OF MAINE; STATE
  OF MARYLAND; STATE OF MICHIGAN; STATE OF
  MINNESOTA; STATE OF NEVADA; STATE OF NEW                      FIRST AMENDED COMPLAINT
  MEXICO; STATE OF NORTH CAROLINA; STATE OF                     FOR DECLARATORY AND
  OREGON; STATE OF VERMONT; STATE OF                            INJUNCTIVE RELIEF
  WASHINGTON; and STATE OF WISCONSIN,

                Plaintiffs,

         v.

  DONALD TRUMP, in his official capacity as President of
  the United States; U.S. OFFICE OF MANAGEMENT
  AND BUDGET; RUSSELL VOUGHT, in his official
  capacity as Director of the U.S. Office of Management and
  Budget; U.S. DEPARTMENT OF THE TREASURY;
  SCOTT BESSENT, in his official capacity as Secretary of
  the Treasury; PATRICIA COLLINS, in her official capacity
  as Treasurer of the United States; U.S. DEPARTMENT OF
  HEALTH AND HUMAN SERVICES; DOROTHY A.
  FINK, M.D., in her official capacity as Acting Secretary of
  Health and Human Services; U.S. DEPARTMENT OF
  EDUCATION; DENISE CARTER, in her official capacity
  as Acting Secretary of Education; U.S. DEPARTMENT OF
  TRANSPORTATION; SEAN DUFFY, in his official
  capacity as Secretary of Transportation; U.S.
  DEPARTMENT OF LABOR; VINCE MICONE, in his
  official capacity as Acting Secretary of Labor; U.S.
  DEPARTMENT OF ENERGY; CHRIS WRIGHT, in his
  official capacity as Secretary of Energy; U.S.
  ENVIRONMENTAL PROTECTION AGENCY; LEE
  ZELDIN, in his official capacity as Administrator of the
  U.S. Environmental Protection Agency; U.S.
  DEPARTMENT OF THE INTERIOR; DOUG BURGUM,

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  in his official capacity as Secretary of the Interior; U.S.
  DEPARTMENT OF HOMELAND SECURITY; KRISTI
  NOEM, in her capacity as Secretary of Homeland Security;
  U.S. DEPARTMENT OF JUSTICE; PAMELA BONDI, in
  her official capacity as Attorney General of the U.S.
  Department of Justice; THE NATIONAL SCIENCE
  FOUNDATION; DR. SETHURAMAN
  PANCHANATHAN, in his capacity as Director of the
  National Science Foundation; U.S. DEPARTMENT OF
  AGRICULTURE; GARY WASHINGTON, in his official
  capacity as Acting Secretary of Agriculture; U.S.
  DEPARTMENT OF HOUSING AND URBAN
  DEVELOPMENT; SCOTT TURNER, in his official
  capacity as Secretary of Housing and Urban Development;
  U.S. DEPARTMENT OF STATE; U.S. AGENCY FOR
  INTERNATIONAL DEVELOPMENT; MARCO RUBIO,
  in his official capacities as Secretary of State and Acting
  Administrator of the United States Agency for
  International Development; U.S. DEPARTMENT OF
  DEFENSE; PETER HEGSETH, in his official capacity as
  Secretary of Defense; U.S. DEPARTMENT OF
  VETERANS AFFAIRS; DOUG COLLINS, in his official
  capacity as Secretary of Veterans Affairs; U.S.
  DEPARTMENT OF COMMERCE; JEREMY PELTER, in
  his official capacity as Acting Secretary of Commerce;
  NATIONAL AERONAUTICS AND SPACE
  ADMINISTRATION; JANET PETRO in her official
  capacity as Acting Administrator of National Aeronautics
  and Space Administration; CORPORATION FOR
  NATIONAL AND COMMUNITY SERVICE; JENNIFER
  BASTRESS TAHMASEBI, in her official capacity as
  Interim Head of the Corporation for National and
  Community Service; U.S. SOCIAL SECURITY
  ADMINISTRATION; MICHELLE KING, in her official
  capacity as Acting Commissioner of United States Social
  Security Administration; U.S. SMALL BUSINESS
  ADMINISTRATION; and EVERETT WOODEL, in his
  official capacity as Acting Administrator of U.S. Small
  Business Administration,

                Defendants.




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                                          INTRODUCTION

         1.      This action seeks declaratory and injunctive relief against the federal government’s

 categorical, immediate, and indefinite freeze on trillions of dollars of Congressionally authorized

 and appropriated federal funding (Federal Funding Freeze). Defendants’ actions—beginning with

 certain Executive Orders (EOs) issued on or after January 20, 2025, followed by the EOs’

 implementation at federal agencies, and continuing through and beyond the issuance of a directive

 by the Office of Management and Budget (OMB) to pause virtually all federal disbursements to

 federal funding recipients—froze critical federal funding, including billions of dollars committed

 to Plaintiff States and benefitting their residents.

         2.      The Federal Funding Freeze began with a January 20 EO entitled Unleashing

 American Energy, in which the President directed that all federal agencies impose a categorical,

 immediate, and indefinite pause on federal funds under the Infrastructure Improvement and Jobs

 Act (IIJA) (commonly known as the Bipartisan Infrastructure Law) and the Inflation Reduction

 Act of 2022 (IRA) pending review by those agencies of all such funding against the President’s

 energy policy priorities. Exec. Order 14154, 90 Fed. Reg. 8353 (Jan. 29, 2025) (Unleashing EO).

 The day after that EO, OMB issued a directive stating that agencies must “immediately pause

 disbursement of funds appropriated under the [IRA] or the [IIJA].” Off. of Mgmt. & Budget, Exec.

 Off. of the President, M-25-11, Guidance Regarding Section 7 of the Executive Order Unleashing

 American Energy (Jan. 21, 2025) (Unleashing Directive).

         3.      The Federal Funding Freeze continued through the following week when, on

 January 27, OMB issued a directive implementing an across-the-board Federal Funding Freeze—

 extending to nearly all federal funding streams nationwide—citing the Unleashing EO as well as

 several other EOs issued by the President in the previous week. Specifically, OMB ordered the



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 head of every executive branch department and agency to “temporarily pause all activities related

 to obligation or disbursement of all Federal financial assistance,” as well as any “other relevant

 agency activities” that “may be implicated by” recent executive orders, “including, but not limited

 to, financial assistance for foreign aid, nongovernmental organizations, DEI, woke gender

 ideology, and the green new deal.” Off. of Mgmt. & Budget, Exec. Off. of the President, M-25-13,

 Temporary Pause of Agency Grant, Loan, & Other Financial Assistance Programs 2 (Jan. 27,

 2025) (OMB Directive) (emphasis in original).1

          4.     OMB purported to rescind that across-the-board OMB Directive shortly after

 Plaintiff States filed this lawsuit, and just before a hearing on Plaintiff States’ motion for a

 temporary restraining order in this action. But that rescission was in name only. Defendants

 continued to implement the Federal Funding Freeze across myriad federal funding programs, as

 demonstrated through their repeated actions and communications, resulting in substantial

 disruptions across State agencies—both before and after OMB purported to rescind its Directive.

 These disruptions only stopped (and even then, only partially) following a temporary restraining

 order from this Court.

          5.     The Federal Funding Freeze, effectuated through EOs, the Unleashing Directive,

 the OMB Directive, and other agency actions implementing them as detailed herein, is

 unconstitutional and exceeds statutory authority, and those agency actions violate the

 Administrative Procedure Act (APA).

          6.     Defendants’ actions to unlawfully withhold funds have caused substantial

 confusion and resulted in—and will continue to result in—immediate and devastating harm to

 Plaintiff States and their residents. The Federal Funding Freeze purports to allow federal agencies



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        A copy of the OMB Directive is appended to this Complaint as Exhibit A.
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 to rescind hundreds of millions of dollars they have committed to pay, and on which Plaintiff

 States’ budgets rely—monies that are necessary for the Plaintiff States to ensure that their residents

 have access to childcare, quality healthcare, a clean and safe environment, the protections of law

 enforcement, the benefit of safe roads, access to workforce development, and assistance in the

 aftermath of natural disasters, among many other key services. Indeed, the confusion caused by

 the Federal Funding Freeze itself constitutes immediate harm by impeding planning, wasting

 resources to mitigate potential impacts, and unnecessarily stopping work. Without the timely

 disbursement of this funding, the Plaintiff States will be unable to provide these essential services

 for residents, pay public employees, satisfy obligations, and carry on the important business of

 government.

        7.        The Plaintiff States accordingly seek declaratory and injunctive relief to put an end

 to the Federal Funding Freeze and ensure that access to critical funds by the Plaintiff States and

 their residents continues, under the applicable statutes, regulations, and terms governing such

 disbursements.

                                   JURISDICTION AND VENUE

        8.        This Court has subject-matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and

 2201(a). Jurisdiction is also proper under the judicial review provisions of the APA. 5 U.S.C. § 702.

        9.        Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)(2) and (e)(1).

 Defendants are United States agencies or officers sued in their official capacities. The State of

 Rhode Island is a resident of this district, and a substantial part of the events or omissions giving

 rise to this Complaint occurred and continues to occur within the District of Rhode Island.




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                                               PARTIES

     A. Plaintiffs

         10.      The State of New York is a sovereign state in the United States of America. New

 York is represented by Attorney General Letitia James, who is the chief law enforcement officer

 of New York.

         11.      The State of California is a sovereign state in the United States of America.

 California is represented by Attorney General Rob Bonta, who is the chief law enforcement officer

 of California.

         12.      The State of Illinois is a sovereign state in the United States of America. Illinois is

 represented by Attorney General Kwame Raoul, who is the chief law enforcement officer of

 Illinois.

         13.      The State of Rhode Island is a sovereign state in the United States of America.

 Rhode Island is represented by Attorney General Peter F. Neronha, who is the chief law

 enforcement officer of Rhode Island.

         14.      The State of New Jersey is a sovereign state in the United States of America. New

 Jersey is represented by Attorney General Matthew Platkin, who is the chief law enforcement

 officer of New Jersey.

         15.      The Commonwealth of Massachusetts is a sovereign state in the United States of

 America. Massachusetts is represented by Attorney General Andrea Joy Campbell, who is the chief

 law enforcement officer of Massachusetts.

         16.      The State of Arizona is a sovereign state in the United States of America. Arizona

 is represented by Attorney General Kris Mayes, who is the chief law enforcement officer of

 Arizona.



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          17.   The State of Colorado is a sovereign state in the United States of America. Colorado

 is represented by Attorney General Phil Weiser, who acts as the chief legal representative of the

 state.

          18.   The State of Connecticut is a sovereign state in the United States of America.

 Connecticut is represented by Attorney General William Tong, who is the chief law enforcement

 officer of Connecticut.

          19.   The State of Delaware is a sovereign state in the United States of America.

 Delaware is represented by Attorney General Kathleen Jennings, who is the chief law enforcement

 officer of Delaware.

          20.   The District of Columbia is a municipal corporation organized under the

 Constitution of the United States. It is empowered to sue and be sued, and it is the local government

 for the territory constituting the permanent seat of the federal government. The District is

 represented by and through its chief legal officer, the Attorney General for the District of

 Columbia, Brian L. Schwalb.

          21.   The State of Hawai’i is a sovereign state of the United States of America. Hawai’i

 is represented by Attorney General Anne Lopez who is the chief law enforcement officer of

 Hawai’i.

          22.   Plaintiff Office of the Governor ex rel. Andy Beshear brings this suit his official

 capacity as Governor of the Commonwealth of Kentucky. The Kentucky Constitution makes the

 Governor the Chief Magistrate with the “supreme executive power of the Commonwealth,” Ky.

 Const. § 69, and gives the Governor, and only the Governor, the duty to “take care that the laws

 be faithfully executed,” id. § 81. In taking office, Governor Beshear swears an oath that he will

 support the Constitution of the United States and the Kentucky Constitution. Id. § 228. The



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 Governor is the head of his General Cabinet and his Executive Cabinet. Ky. Rev. St. § 11.060; Ky.

 Rev. St. § 11.065; Ky. Rev. St. § 12.255; Ky. Rev. St. § 12.270.

        23.     The State of Maine is a sovereign state of the United States of America. Maine is

 represented by Attorney General Aaron Frey who is the chief law enforcement officer of Maine.

        24.     The State of Maryland is a sovereign state of the United States of America.

 Maryland is represented by Attorney General Anthony G. Brown who is the chief law enforcement

 officer of Maryland.

        25.     The State of Michigan is a sovereign state of the United States of America.

 Michigan is represented by Attorney General Dana Nessel who is the chief law enforcement officer

 of Michigan.

        26.     The State of Minnesota is a sovereign state of the United States of America.

 Minnesota is represented by Attorney General Keith Ellison who is the chief law enforcement

 officer of Minnesota.

        27.     The State of Nevada is a sovereign state of the United States of America. Nevada

 is represented by Attorney General Aaron Ford who is the chief law enforcement officer of Nevada.

        28.     The State of North Carolina is a sovereign state of the United States of America.

 North Carolina is represented by Attorney General Jeff Jackson who is the chief law enforcement

 officer of North Carolina.

        29.     The State of New Mexico is a sovereign state of the United States of America. New

 Mexico is represented by Attorney General Raúl Torrez who is the chief law enforcement officer

 of New Mexico.

        30.     The State of Oregon is a sovereign state of the United States of America. Oregon is

 represented by Attorney General Dan Rayfield who is the chief law enforcement officer of Oregon.



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         31.     The State of Vermont is a sovereign state of the United States of America. Vermont

 is represented by Attorney General Charity Clark who is the chief law enforcement officer of

 Vermont.

         32.     The State of Washington is a sovereign state in the United States of America.

 Washington is represented by Attorney General Nicholas W. Brown. The Attorney General of

 Washington is the chief legal adviser to the State and is authorized to act in federal court on behalf

 of the State on matters of public concern.

         33.     The State of Wisconsin is a sovereign state of the United States of America.

 Wisconsin is represented by Attorney General Josh Kaul who is the chief law enforcement officer

 of Wisconsin.

         34.     The Plaintiff States each receive billions of dollars annually from the federal

 government for services that range from providing essential healthcare and free or low-cost school

 meals to low-income children, to supporting law enforcement efforts to combat violence against

 children, elders and other vulnerable groups, to maintaining highways and roads, to pollution

 reduction efforts and critical infrastructure improvements. The Federal Funding Freeze jeopardizes

 all of this funding—funding that Congress designated and appropriated for the Plaintiff States.

     B. Defendants

         35.     Defendant Donald J. Trump is the President of the United States. He is responsible

 for the actions and decisions that are being challenged by Plaintiff States in this action and is sued

 in his official capacity.

         36.     Defendant the United States OMB is a cabinet agency within the executive branch

 of the United States government. OMB is responsible for oversight of federal agencies’

 performance and the administration of the federal budget. 31 U.S.C. §§ 501–07.



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        37.     Defendant Russell Vought is the Director of the OMB and that agency’s highest

 ranking official. In that capacity, he oversees OMB and provides direction and leadership to the

 executive branch on financial management matters by establishing financial management policies

 and requirements. The OMB Director authored the OMB Directive and other OMB directives

 detailed herein and is responsible for ensuring that its directions are implemented by all federal

 agencies that provide relevant funding and support. He is sued in his official capacity. 31 U.S.C.

 §§ 502, 503.

        38.     Defendant the United States Department of the Treasury is a cabinet agency within

 the executive branch of the United States government. 31 U.S.C. § 301(a). The Department of the

 Treasury is responsible for ensuring the financial security of the United States.

        39.     Defendant Scott Bessent is the Secretary of the Department of the Treasury,

 responsible for the operations of the Department of the Treasury and management of the finances

 of the United States. 31 U.S.C. § 301(b). He is sued in his official capacity.

        40.     Defendant Patricia Collins is the Treasurer of the United States, responsible for the

 management of the finances of the United States. 31 U.S.C. § 301(d). She is sued in her official

 capacity.

        41.     Defendant the United States Department of Health and Human Services (HHS) is

 a cabinet agency within the executive branch of the United States government. 42 U.S.C. § 3501.

 The National Institutes of Health is an agency of the United States within the HHS. 42 U.S.C.

 § 281(a).

        42.     Defendant Dorothy A. Fink, M.D., is the Acting Secretary of HHS and that agency’s

 highest ranking official. Exec. Off. of the President, President Trump Announces Acting Cabinet

 and Cabinet-Level Positions (Jan. 20, 2025), https://www.whitehouse.gov/presidential-



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 actions/2025/01/designation-of-acting-leaders/ (Acting Designations Directive). She is charged

 with the supervision and management of all decisions and actions of that agency. 42 U.S.C. § 3501.

 She is sued in her official capacity.

        43.     Defendant the United States Department of Education is a cabinet agency within

 the executive branch of the United States government. 20 U.S.C. § 3411.

        44.     Defendant Denise Carter is the Acting Secretary of the United States Department

 of Education and that agency’s highest ranking official. Acting Designations Directive. She is

 charged with the supervision and management of all decisions and actions of that agency. 20 U.S.C.

 § 3412. She is sued in her official capacity.

        45.     Defendant United States Department of Transportation is a cabinet agency within

 the executive branch of the United States government. 49 U.S.C. § 102.

        46.     Defendant Sean Duffy is the Secretary of the United States Department of

 Transportation and that agency’s highest ranking official. He is charged with the supervision and

 management of all decisions and actions of that agency. 49 U.S.C. § 102. He is sued in his official

 capacity.

        47.     Defendant United States Department of Labor (DOL) is a cabinet agency within

 the executive branch of the United States government. 29 U.S.C. § 551.

        48.     Defendant Vincent Micone is the Acting Secretary of DOL and that agency’s

 highest ranking official. Acting Designations Directive. He is charged with the supervision and

 management of all decisions and actions of that agency. 29 U.S.C. § 551. He is sued in his official

 capacity.

        49.     Defendant United States Department of Energy (DOE) is a cabinet agency within

 the executive branch of the United States government. 42 U.S.C. § 7131.



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         50.     Defendant Chris Wright is the Secretary of the DOE and that agency’s highest

 ranking official. He is charged with the supervision and management of all decisions and actions

 of that agency. 42 U.S.C. § 7131. He is sued in his official capacity.

         51.     Defendant United States Environmental Protection Agency (EPA) is an

 independent agency within the executive branch of the United States government. 42 U.S.C.

 § 4321.

         52.     Defendant Lee Zeldin is the Administrator of the EPA and that agency’s highest

 ranking official. He is charged with the supervision and management of all decisions and actions

 of that agency. 42 U.S.C. § 4321. He is sued in his official capacity.

         53.     Defendant United States Department of the Interior is a cabinet agency within the

 executive branch of the United States government. 43 U.S.C. § 1451. The United States Geological

 Survey (USGS) is an agency within the United States Department of the Interior. 43 U.S.C. § 31.

         54.     Defendant Doug Burgum is the Secretary of the Department of the Interior, and that

 agency’s highest-ranking official. 43 U.S.C. § 1451. He is sued in his official capacity.

         55.     Defendant United States Department of Homeland Security is a cabinet agency

 within the executive branch of the United States government. 6 U.S.C. § 111. The United States

 Federal Emergency Management Agency (FEMA) is an agency within the Department of

 Homeland Security. 6 U.S.C. § 313.

         56.     Defendant Kristi Noem is the Secretary of the United States Department of

 Homeland Security and that agency’s highest ranking official. She is charged with the supervision

 and management of all decisions and actions of that agency. 6 U.S.C. § 112. She is sued in her

 official capacity.




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        57.     Defendant United States Department of Justice is a cabinet agency within the

 executive branch of the United States government. 28 U.S.C. § 501.

        58.     Defendant Pamela Bondi is the Attorney General for the United States Department

 of Justice and that agency’s highest ranking official. She is charged with the supervision and

 management of all decisions and actions of that agency. 28 U.S.C. § 503. She is sued in her official

 capacity.

        59.     Defendant the National Science Foundation is an independent agency within the

 executive branch of the United States government. 42 U.S.C. § 1861.

        60.     Defendant Dr. Sethuraman Panchanathan is the Director of the National Science

 Foundation and that agency’s highest ranking official. He is charged with the supervision and

 management of all decisions and actions of that agency. 42 U.S.C. § 1864. He is sued in his official

 capacity.

        61.     Defendant United States Department of Agriculture (USDA) is a cabinet agency

 within the executive branch of the United States government. 7 U.S.C. § 2201. The United States

 Forest Service is an agency within the United States Department of Agriculture. 16 U.S.C. § 553.

 The Natural Resources Conservation Service is an agency within the United States Department of

 Agriculture. 7 U.S.C. § 6936.

        62.     Defendant Gary Washington is the Acting Secretary of USDA and that agency’s

 highest-ranking official. 7 U.S.C. § 2202; Acting Designations Directive. He is sued in his official

 capacity.

        63.     Defendant United States Department of Housing and Urban Development (HUD)

 is a cabinet agency within the executive branch of the United States government. 42 U.S.C.

 § 3532(a).



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        64.     Defendant Scott Turner is the Secretary of HUD and that agency’s highest-ranking

 official. He is charged with the supervision and management of all decisions and actions of that

 agency. 42 U.S.C. § 3532(a)–(b). He is sued in his official capacity.

        65.     Defendant United States Department of State is a cabinet agency within the

 executive branch of the United States government. 22 U.S.C. § 2651.

        66.     Defendant United States Agency for International Development is an independent

 agency within the executive branch of the United States government. 22 U.S.C. § 6563(a).

        67.     Defendant Marco Rubio is Secretary of the United States Department of State, and

 that agency’s highest-ranking official. He is charged with supervision and management of all

 decisions and actions of that agency, 22 U.S.C. § 2651, and is sued in his official capacity.

 Defendant Marco Rubio is also the acting Administrator of the United States Agency for

 International Development and that agency’s highest-ranking official. He is charged with the

 supervision and management of all decisions and actions of that agency. He is sued in his official

 capacity.

        68.     Defendant United States Department of Defense is a cabinet agency within the

 executive branch of the United States government. 10 U.S.C. § 111.

        69.     Defendant Peter Hegseth is the Secretary of the United States Department of

 Defense and that agency’s highest-ranking civilian official. He is charged with the supervision and

 management of all decisions and actions of that agency. Id. He is sued in his official capacity.

        70.     Defendant United States Department of Veterans Affairs is a cabinet agency within

 the executive branch of the United States government. 38 U.S.C. § 301.




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         71.     Defendant Doug Collins is the Secretary of the United States Department of

 Veterans Affairs. He is charged with the supervision and management of all decisions and actions

 of that agency. Id. He is sued in his official capacity.

         72.     Defendant United States Department of Commerce is a cabinet agency within the

 executive branch of the United States government. 40 U.S.C. § 1501. The National Oceanic and

 Atmospheric Administration is a bureau within the United States Department of Commerce. 42

 U.S.C. § 1511(1).

         73.     Defendant Jeremy Pelter is Acting Secretary of the United States Department of

 Commerce, and that agency’s highest-ranking official. Acting Designations Directive. He is

 charged with the supervision and management of all decisions and actions of that agency. 40 U.S.C.

 § 1501. He is sued in his official capacity.

         74.     Defendant National Aeronautics and Space Administration is an independent

 agency within the United States government. 51 U.S.C. § 20111(a).

         75.     Defendant Janet Petro is Acting Administrator of the National Aeronautics and

 Space Administration and that agency’s highest-ranking official. She is charged with the

 supervision and management of all decisions and actions of that agency. 51 U.S.C. § 20111(a). She

 is sued in her official capacity.

         76.     Defendant Corporation for National and Community Service, operating as

 AmeriCorps, is an independent agency within the United States government. 42 U.S.C. § 12651.

         77.     Defendant Jennifer Bastress Tahmasebi is Interim Head of the Corporation for

 National and Community Service, operating as AmeriCorps, and that agency’s highest-ranking

 official. She is sued in her official capacity.




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        78.     Defendant United States Social Security Administration is an independent agency

 within the United States government. 42 U.S.C. § 901.

        79.     Defendant Michelle King is the Acting Commissioner of the United States Social

 Security Administration and that agency’s highest-ranking official. Acting Designations Directive.

 She is charged with the supervision and management of all decisions and actions of that agency.

 42 U.S.C. § 902. She is sued in her official capacity.

        80.     Defendant United States Small Business Administration is an independent agency

 within the United States government. 15 U.S.C. § 633.

        81.     Defendant Everett Woodel is the Acting Administrator of United States Small

 Business Administration and that agency’s highest-ranking official. Acting Designations Directive.

 He is charged with the supervision and management of all decisions and actions of that agency. 15

 U.S.C. § 633(a)(1). He is sued in his official capacity.

                                     LEGAL BACKGROUND

 Constitutional and Statutory Provisions Governing Federal Funding

        82.     The Constitution gives the “power of the purse” to Congress. Specifically, the

 Constitution grants to Congress the authority to levy taxes, to finance government operations

 through appropriations, and to set the terms and conditions on the use of those appropriations. U.S.

 Const. art. I, § 9, cl. 7 (“No Money shall be drawn from the Treasury, but in Consequence of

 Appropriations Made by Law; and a regular Statement and Account of the Receipts and

 Expenditures of all public Money shall be published from time to time.”); art. I, § 8, cl. 1 (Congress

 has authority “[t]o lay and collect Taxes, Duties, Imposts and Excises; to pay the Debts and provide

 for the common Defence and general Welfare of the United States . . . .”).




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         83.     The Constitution also vests in Congress all legislative powers and prescribes a

 specific procedure by which laws may be enacted, which include the requirements of bicameralism

 and presentment. U.S. Const. art. I, § 1 (“All legislative Powers herein granted shall be vested in

 a Congress of the United States . . . .”); U.S. Const. art. I, § 7, cls. 2, 3. Bicameralism requires that

 both Houses of Congress pass an identical bill, and presentment requires that the proposed law be

 presented to the President for signature or veto. U.S. Const. art. I, § 7, cls. 2, 3.

         84.     The President may recommend laws for Congress’s consideration, including those

 related to spending. U.S. Const. art. II, § 3. Upon presentment with a bill, the President may sign

 it into law, veto it, or take no action on it for a period of ten days, after which time it becomes law.

 U.S. Const. art. I, § 7, cl. 2. Once a spending law is enacted, the Constitution imposes on the

 President a duty to “take Care that the Laws be faithfully executed.” U.S. Const. art. II, § 3.

 Appropriations Law

         85.     Congress authorizes federal spending not through one single piece of legislation

 but through many. To finance federal programs and activities, Congress authorizes an agency to

 incur financial obligations that will result in immediate or future disbursements of federal funds

 from the United States Treasury. See 2 U.S.C. § 622(2)(A)(i).

         86.     One such authorization is an appropriation, which creates the legal authority to

 “make funds available for obligation” and to make “expenditure[s]” for the purposes, during the

 time periods, and in the amounts specified in the law authorizing the appropriations. See 2 U.S.C.

 § 622(2)(A)(i). An “obligation” is a “definite commitment that creates a legal liability of the

 government for the payment of goods and services ordered or received, or a legal duty on the part

 of the United States that could mature into” such a liability; an “expenditure,” also known as a

 “disbursement,” is the actual spending of federal funds. U.S. Gov’t Accountability Off., A Glossary



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 of Terms Used in the Federal Budget Process, GAO-05-734SP, at 45, 48, 70 (Sept. 2005),

 https://www.gao.gov/assets/gao-05-734sp.pdf (“Budget Glossary”).

        87.     Congress has enacted multiple overarching framework statutes that affirm

 congressional control over federal spending. First, the so-called “purpose statute” states that

 “[a]ppropriations shall be applied only to the objects for which the appropriations were made

 except as otherwise provided by law,” 31 U.S.C. § 1301(a)—that is, funds can only be used for the

 purposes that Congress has designated.

        88.     Second, the Antideficiency Act, prevents agencies from obligating or spending

 funds absent congressional appropriation. 31 U.S.C. § 1341.

        89.     Finally, the Congressional Budget and Impoundment Control Act of 1974, 2 U.S.C.

 §§ 681 et seq. (Impoundment Control Act), permits the Executive Branch to “impound” (or decline

 to spend) federal funds under a small set of highly circumscribed conditions.

        90.     Under the Impoundment Control Act, the President must indicate his intention

 either to defer (delay) or rescind (cancel) a congressional appropriation by transmitting a “special

 message” to both Houses of Congress and the Comptroller General, which also must be published

 in the Federal Register. 2 U.S.C. §§ 681, 683 (rescissions), 684 (deferrals), 685 (transmission of

 messages; publication). The special message must justify the deferral or rescission, including its

 amount and likely fiscal consequences. Id. §§ 683(a) (rescissions), 684(a) (deferrals).

        91.     Under the Impoundment Control Act, deferrals are required to be consistent with

 “legislative policy.” 2 U.S.C. § 684(b). They are permissible only “to provide for contingencies”;

 “to achieve savings made possible” through “changes in requirements or greater efficiency of

 operations”; or “as specifically provided by law.” 2 U.S.C. § 684(b). Deferrals for any other

 purpose are prohibited. 2 U.S.C. § 684(b).



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        92.     In the case of a proposed rescission, once the President transmits the requisite

 special message, Congress has 45 days to consider the President’s proposal and approve it by

 passing a “rescission bill,” which rescinds the agency’s authorization to incur financial obligations,

 in whole or in part. 2 U.S.C. § 682(3). If Congress does not act within 45 days to approve the

 President’s proposal, the funds are not rescinded and “shall” be made available for obligation. 2

 U.S.C. § 683(b).

 Laws Governing Federal Funding to States

        93.     Many of the most significant funding streams to the Plaintiff States are so-called

 categorical or “formula” grants, which Congress has through specific statutory provisions

 instructed the federal agencies or officials to provide to States on the basis of enumerated statutory

 factors, such as population or the expenditure of qualifying state funds. See, e.g., City of Los

 Angeles v. Barr, 941 F.3d 931, 935 (9th Cir. 2019). Congress authorized and appropriated other

 significant funding streams for specific purposes, or using specific statutory commands. For

 example:

        94.     Medicaid Funding. Congress has directed the Secretary of Health and Human

 Services to “pay to each State” a fixed portion of their annual Medicaid expenditures, 42 U.S.C.

 § 1396b(a)—an amount totaling over $800 billion annually, and amounting to one of the Plaintiff

 States’ most significant sources of federal funds.

        95.     Highway Funding. Congress established a statutory formula by which the

 Secretary of Transportation is required to distribute federal highway funds to States, see 23 U.S.C.

 § 104(a)(1), (b), (c), totaling hundreds of millions of dollars annually in the coming two fiscal

 years, 23 U.S.C. §§ 104(a)–(e). The distribution methodology is mandatory and does not permit

 the Secretary to deviate from the formula. Id. §§ 104(b) (“The Secretary shall distribute the amount



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 of the base apportionment . . . .”), 104(c)(1) (“[T]he amount for each State shall be determined as

 follows . . . .”) (emphases added).

        96.     Special Education Services. Congress also instructed federal agencies to give

 States the funds they need to support the health and safety of children in their jurisdictions. The

 Individuals with Disabilities Education Act, 20 U.S.C. §§ 1400 et seq., for instance, states that

 “[t]he Secretary [of Education] shall make grants to States . . . to assist them to provide special

 education and related services to children with disabilities” according to a statutory formula, id.

 § 1411(a)(1); see id. § 1411(d) (setting amounts of grants based on prior funding levels and

 population data).

        97.     Mental Health and Substance Abuse Treatment. In another example, Congress

 has directed the Secretary of HHS to provide nondiscretionary block grants to states for mental

 health and substance abuse treatment and appropriates over $2 billion annually to fund those

 grants. The Secretary “shall make” or “shall determine the amount of” grants according to fixed

 statutory formulas, 42 U.S.C. §§ 300x(a), 300x-7(a), 300x-21(a), 300x-33(a), and lacks the

 discretion to unilaterally withhold funds absent compliance with statutory procedures that afford

 the states notice and an opportunity to be heard, see, e.g., id. §§ 300x-26(b)(1), 300x-55(e).

        98.     Power and Heating for Low-Income Residents. Congress also established the

 Low-Income Home Energy Assistance Program (LIHEAP), likewise administered by the HHS

 Secretary, to support the Plaintiff States in their efforts to ensure low-income residents are able to

 obtain electricity and heat in the winter. 42 U.S.C. § 8621(a). Congress has appropriated billions

 of dollars for LIHEAP, which established a set formula by which the Secretary must provide

 funding to the states, id. §§ 8623(a), 8626(a)(1); and sharply limited the Secretary’s discretion to




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 withhold those funds (again, by requiring notice to the state and an opportunity for a hearing), id.

 § 8627.

         99.     The IIJA and IRA. More recently, Congress enacted two federal statutes that

 authorize and direct federal agencies to make significant investments in, among other things,

 energy and infrastructure projects across the Nation—the IIJA, Pub. L. No. 117-58, 135 Stat. 429

 (2021), and the IRA, Pub. L. No. 117-169, 136 Stat. 1818 (2022). Collectively, the IIJA and IRA

 directed over $2 trillion in spending on projects ranging from highways, to broadband access, to

 pollution reduction, to increasing the reliability of the electric grid.

         100.    For example, section 50210 of the IIJA appropriated $14.65 billion in grants for

 States’ Clean Water revolving funds for 2022 to 2026. IIJA § 50210, 135 Stat. at 1169. These funds

 were originally created through a separate statute, the Federal Clean Water Act, which directs that

 EPA “shall make capitalization grants to each State” to establish and support those States’ water

 pollution control revolving funds for wastewater and sewage treatment, stormwater management

 and treatment, and water conservation and recycling projects using formula grants. 33 U.S.C.

 §§ 1381(a), (b); 1383(c); 1384(a), (c)(2) (mandating reallocation of any unallotted funds to State

 programs). Several of the Plaintiff States received Clean Water revolving fund awards under the

 IIJA appropriation that are subject to final, binding grant agreements.

         101.    The IIJA also reauthorized and appropriated an additional $14.65 billion from 2022

 to 2026 for Drinking Water State revolving funds. IIJA § 50102, 135 Stat. at 1136. Congress

 created these revolving funds in the Federal Safe Drinking Water Act, which provides that EPA

 “shall offer to enter into agreements with eligible States to make capitalization grants” via formula

 grants. 42 U.S.C. § 300j-12(a)(1)(A), (D); see also id. § 300j-12(a)(1)(E) (mandating reallocation

 of any unallotted funds to state programs). These funds provide loans and other financial assistance



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 to public water systems, including for the replacement or rehabilitation of aging treatment, storage,

 and distribution facilities. 42 U.S.C. § 300j-12(a)(2)(B). Multiple Plaintiff States have received

 Safe Drinking Water revolving fund awards obligated through final, binding grant agreements.

        102.    As another example, the IRA also appropriated $117.5 million to EPA to award

 grants under an existing air monitoring program established in the 1963 Clean Air Act, 42 U.S.C.

 §§ 7401(a)(4), 7403(a)–(c), 7405. EPA “shall,” Congress instructed, “provide financial assistance

 to air pollution control agencies” in conducting their activities, id. § 7403(a)(2), including the

 mandatory establishment of a national air monitoring network and research program, id. § 7403(c).

 EPA has awarded such grants to multiple Plaintiff States that are obligated under final, binding

 grant agreements with EPA.

        103.    The IRA also created the Climate Pollution Reduction Grant (CPRG) program, in

 which Congress appropriated $5 billion to EPA and directed that EPA “shall competitively award

 grants to eligible entities to implement” greenhouse gas pollution reduction plans and “shall make

 funds available” to grantees. 42 U.S.C. §§ 7437(a)(1), (a)(2), (b), (c)(1), (c)(3). EPA awarded

 grants to multiple Plaintiff States which are obligated under final, binding grant agreements with

 EPA.

        104.    The IRA also appropriated to EPA $7 billion to make grants to states and other

 eligible recipients “to enable low-income and disadvantaged communities to deploy or benefit

 from zero-emission technologies,” including rooftop solar panels and storage systems. 42 U.S.C.

 § 7434(a)(1). EPA awarded these $7 billion through the “Solar for All” program to 60 grantees,

 including many Plaintiff States, all of which are also obligated under final, binding agreements

 with EPA.




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        105.      Another section of the IRA, entitled the High-Efficiency Electric Home Rebate Act,

 provides that the Secretary of Energy “shall award grants to State energy offices . . . to establish a

 high-efficiency electric home rebate program under which rebates shall be provided” for heat

 pump heating and cooling and other electrification projects for low- and moderate-income

 households and appropriated $4.5 billion through 2031 for a home rebate program. 42 U.S.C.

 § 18795a(a)(1), (c), (d)(1), (d)(6); § 18795a(a)(2)(A)(i). DOE awarded several Plaintiff States

 grants under this formula grant program which are subject to final, binding grant agreements.

                                    FACTUAL ALLEGATIONS

 Executive Orders

        106.      Between January 20 and 28, 2025, the President issued a series of executive orders

 directing federal agencies to review funding recipients in connection with widespread policy

 changes. Two of the EOs also direct agencies to withhold funds pending that review, in certain

 circumstances.

          107. Unleashing EO. On January 20, 2025, the President issued the Unleashing EO.

 Exec. Order 14154, 90 Fed. Reg. 8353 (Jan. 29, 2025). The Unleashing EO announces a

 categorical, immediate, and indefinite pause on federal funds under the IIJA and IRA. See id.

 Section 7(a) of the Unleashing EO, entitled “Terminating the Green New Deal,” orders all federal

 agencies to “immediately pause the disbursement of funds appropriated through the [IRA] or the

 [IIJA].” Id. at 8357.

        108.      Section 7(a) of the Unleashing EO further directs all agencies to “review their

 processes, policies, and programs for issuing grants, loans, contracts, or any other financial

 disbursements of such appropriated funds for consistency with the law and policy outlined in

 section 2 of this order,” id., which in turn articulates the President’s energy policy priorities. Those



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 priorities include encouraging fossil fuel and minerals exploration and production, eliminating “the

 electric vehicle (EV) mandate,” and protecting the “freedom to choose from a variety of goods and

 appliances.” Id. at 8353 (internal quotations omitted). The Unleashing EO orders agency heads to

 submit a report detailing this review and resulting recommendations to OMB and the National

 Economic Council (“NEC”) within 90 days of the order and directs that: “[N]o funds [appropriated

 under the IRA or IIJA] shall be disbursed by a given agency until the Director of OMB and

 Assistant to the President for Economic Policy have determined that such disbursements are

 consistent with any review recommendations they have chosen to adopt.” Id. at 8357.

        109.    Invasion EO. On January 20, 2025, the President issued an executive order entitled

 “Protecting the American People Against Invasion” (Invasion EO). Exec. Order 14159, 90 Fed.

 Reg. 8443 (Jan. 29, 2025). This EO asserts that an “unprecedented flood of illegal immigration”

 over the last four years resulted in the entry of people who “present significant threats to national

 security and public safety,” “are engaged in hostile activities, including espionage, economic

 espionage, and preparations for terror-related activities,” or have “abused the generosity of the

 American people.” Id. at 8443. To achieve a policy of “total and efficient enforcement” of the

 nation’s immigration laws, id., the Invasion EO calls for a “Funding Review” in which the Attorney

 General and Secretary of Homeland Security are to review “all contracts, grants or other

 agreements providing federal funding to non-governmental organizations” that support or provide

 services, “directly or indirectly,” to “removable or illegal aliens” and “[p]ause distribution of all

 further funds pursuant to such agreements pending the results of” this review. Id. at 8447. The

 Invasion EO also directs the Attorney General and the Secretary of Homeland Security to ensure

 that “so-called ‘sanctuary’ jurisdictions” do not receive federal funds. Id. at 8446.




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        110.    DEI EO. On January 20, 2025, the President issued an executive order, entitled

 “Ending Radical and Wasteful Government DEI Programs and Preferencing” (DEI EO). Exec.

 Order 14151, 90 Fed. Reg. 8339 (Jan. 29, 2025). This EO declares an intention to “terminat[e] . . .

 all . . . ‘diversity, equity, inclusion, and accessibility’ (DEIA) . . . programs.” Id. at 8339. In

 addition, the DEI EO orders federal agencies to provide the OMB Director with a list of all federal

 grantees who received federal funding “to provide or advance DEI, DEIA, or ‘environmental

 justice’” programs since January 20, 2021. Id. at 8339–40.

        111.    Gender EO. On January 20, 2025, the President issued an executive order, entitled

 “Defending Women from Gender Ideology Extremism and Restoring Biological Truth to the

 Federal Government” (Gender EO). Exec. Order 14168, 90 Fed. Reg. 8615 (Jan. 30, 2025). This

 EO defines federal policy to recognize “two sexes, male and female” determined only by “an

 individual’s immutable biological classification . . . .” Id. The Gender EO requires that federal

 agencies “take all necessary steps, as permitted by law, to end the Federal funding of gender

 ideology” and “assess grant conditions and grantee preferences and ensure grant funds do not

 promote gender ideology.” Id. at 8616.

        112.    Gender-Affirming Care EO. On January 28, 2025, the President issued an

 executive order, entitled “Protecting Children from Chemical and Surgical Mutilation” (Gender-

 Affirming Care EO). Exec. Order 14187, 90 Fed. Reg. 8771 (Feb. 3, 2025). This EO asserts as the

 “policy of the United States that it will not fund, sponsor, promote, assist, or support the so-called

 ‘transition’ of a child from one sex to another.” Id. Section 4 of the Gender-Affirming Care EO

 directs agencies that provide research or education grants to medical institutions to “immediately

 take appropriate steps to ensure that institutions receiving Federal research or education grants end

 the chemical and surgical mutilation of children.” Id. at 8772.



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        113.    Foreign Aid EO. On January 20, 2025, the President also issued an executive order

 entitled “Reevaluating and Realigning United States Foreign Aid” (Foreign Aid EO). Exec. Order

 14169, 90 Fed. Reg. 8619 (Jan. 30, 2025). This EO asserts that “[t]he United States foreign aid

 industry and bureaucracy are not aligned with American interests and in many cases antithetical to

 American values,” and announces that it is “the policy of United States that no further United

 States foreign assistance shall be disbursed in a manner that is not fully aligned with the foreign

 policy of the President of the United States.” The EO orders a 90-day pause in all U.S. foreign

 development assistance “for assessment of programmatic efficiencies and consistency with United

 States foreign policy,” further specifying that “[a]ll department and agency heads with

 responsibility for United States foreign development assistance programs shall immediately pause

 new obligations and disbursements of development assistance funds to foreign countries and

 implementing non-governmental organizations, international organizations, and contractors,”

 pending review of those programs. Id. The Foreign Aid EO further instructs department and agency

 heads, the Secretary of State, and the Director of OMB to participate in a review of the programs,

 which is to culminate in a decision as to whether each program should be continued, modified, or

 ended. Id.

        114.    Other EOs. The President issued two other Executive Orders between January 20

 and 28, 2025, that declare changes in policies that relate to federal funding decisions but did not

 by themselves pause funding or expressly refer to federal grants. See “Putting America First in

 International Environmental Agreements,” Exec. Order 14162, 90 Fed. Reg. 8455 (Jan. 30, 2025);

 “Enforcing the Hyde Amendment,” Exec. Order 14182, 90 Fed. Reg. 8751 (Jan. 31, 2025).

 Initial Funding Disruptions Following the Executive Orders

        115.    Following these Executive Orders, major funding disruptions ensued, as the

 following non-exhaustive examples illustrate.
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          116.   For example, on January 20—the same day as the Unleashing EO—DOE issued a

 memorandum ordering that, “effective immediately and until further notice,” “[a]ll funding and

 financial assistance . . . shall not be announced, approved, finalized, modified, or provided” until

 reviewed “to ensure compliance with Congressional authorization and Administration policy.” See

 Memorandum from Ingrid C. Kolb, Acting Secretary, Agency-wide Review of Program and

 Administrative Activities (Jan. 20, 2025). 2 On January 23, DOE informed the Colorado Energy

 Office that it was pausing further communication while it evaluated information from the new

 administration.

          117.   That same day, USDA advised grantees that payments would continue to be

 processed under existing awards, “provided that they are not funded using IIJA and IRA funding

 sources.”

          118.   On January 21, 2025, OMB Acting Director Matthew J. Vaeth and Kevin Hassett,

 Assistant to the President for Economic Policy and Director of the NEC, issued the Unleashing

 Directive, titled “Guidance Regarding Section 7 of the Executive Order Unleashing American

 Energy.” OMB Mem. M-25-11.3 This Directive reiterates the terms in Unleashing EO itself,

 directing that “section 7 of the [Unleashing EO] requires agencies to immediately pause

 disbursement of funds appropriated under the [IRA] or the [IIJA].” Id. It goes on to specify that

 the “pause” applies to “funds supporting the ‘Green New Deal,’” meaning, “any appropriations

 for objectives that contravene the policies established in section 2” and that agencies may disburse

 funds only after consulting with OMB. Id.




    2
        A copy of this DOE memorandum is appended to this Complaint as Exhibit B.
    3
        A copy of the Unleashing Directive is appended to this Complaint as Exhibit C.
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        119.    On January 24, the Federal Highway Administration cancelled contract

 negotiations with the Massachusetts Department of Transportation for an awarded Low-Carbon

 Transportation Materials grant, citing a funding freeze; as recently as February 5, the grant

 remained on hold.

        120.    On January 26, USAID issued stop work orders that appeared to unilaterally

 suspend grant awards, citing the Executive Order titled, “Reevaluating and Realigning U.S.

 Foreign Aid.” Among the recipients who received this order was the State of Washington Water

 Research Center, which is administered through the Washington State University Office of

 Research. Other suspensions followed, affecting many research universities in Plaintiff States.

 Subsequently, a Declaration filed by the Deputy Assistant Commissioner for Federal Disbursement

 Services at the Bureau of Fiscal Services in the U.S. Department of Treasury revealed that, on

 January 26, Treasury leadership directed the Bureau to “identify” and “flag” “all USAID payment

 files” within the Bureau’s payment system before they could be paid, apparently because they were

 “potentially implicated by the President’s foreign aid Executive Order.” By January 27, Treasury

 leadership “informed [the Bureau] that State Department had decided to intercept the USAID files

 prior to the initial submission.”

        121.    On the morning of January 27, Rhode Island’s Office of Energy Resources received

 notification that a drawdown of $26,510.21 from Rhode Island’s Solar for All grant had been

 rejected.

        122.    And in the late afternoon of January 27, the acting Chief Financial Officer of the

 EPA issued a memorandum, entitled “Inflation Reduction Act and Infrastructure Investment and

 Jobs Act Funding Action Pause.” See Mem. from Gregg Treml, Acting Chief Financial Officer, to

 Deputy Administrators, re: Inflation Reduction Act and Infrastructure Investment and Jobs



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 Funding Action Pause (Jan. 27, 2025) (Jan. 27 EPA Memo). 4 Stating that it is “based on instruction

 from OMB,” the Jan. 27 EPA Memo explains: (i) “[i]n accordance with the [Unleashing EO],

 unobligated funds (including unobligated commitments) appropriated by” the IIJA and IRA “are

 paused”; (ii) “all disbursements for unliquidated obligations funded by any line of accounting

 including funds appropriated by” the IIJA and IRA likewise “are paused”; and (iii) “[a]ll related

 actions, including new contract, grant, rebate, and interagency actions, to include drawdowns, for

 IIJA and IRA are paused.” Id.

 Issuance and Purported Rescission of the OMB Directive

          123.   On January 27, OMB Acting Director Vaeth issued the OMB Directive (M-25-13).

 Ex. A. The OMB Directive targeted a broader swath of federal fund disbursements for a near-

 immediate freeze. OMB Directive. This directive stated that all federal agencies “must complete a

 comprehensive analysis of all of their Federal financial assistance programs to identify programs,

 projects, and activities that may be implicated by any of the President’s executive orders.” Id. at 2.

 While this analysis is ongoing, “[i]n the interim, to the extent permissible under applicable law,

 Federal agencies must temporarily pause all activities related to obligation or disbursement of

 all Federal financial assistance, and other relevant agency activities that may be implicated by the

 executive orders, including, but not limited to, financial assistance for foreign aid,

 nongovernmental organizations, DEI, woke gender ideology, and the green new deal.” Id.

 (emphasis original). The OMB Directive ordered that the temporary pause take effect the following

 day, on January 28, 2025, at 5:00 PM. Id.

          124.   The OMB Directive appeared to suspend all federal financial assistance, with few

 exceptions—by its terms, it was not limited to funds that may be related to “foreign aid,



    4
        A copy of the Jan. 27 EPA Memo is appended to this Complaint as Exhibit D.
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 nongovernmental organizations, DEI, woke gender ideology, and the green new deal,” but rather

 applied to “all activities related to obligation or disbursement of all Federal financial assistance.”

 Id. at 2.5 And it expressly stated that its list of “other relevant agency activities” that may be

 implicated by the EOs was merely illustrative and not exhaustive. Id.

        125.    The blanket freeze required by the OMB Directive was also unambiguously

 indefinite. The OMB Directive stated that agencies must “submit to OMB detailed information on

 any programs, projects or activities subject to this pause”by February 10, 2025. Id. But it did not

 specify when OMB had to or planned to complete its review of the agencies’ submissions or release

 funding pursuant to its findings. Id.

        126.    Following the transmittal of the OMB Directive to federal agencies, OMB

 circulated a document labeled “Instructions for Federal Financial Assistance Program Analysis in

 Support of M-25-13.”6 This document contains a chart listing federal funding lines, with columns

 that ask whether the funding line “promote[s] gender ideology,” “provide[s] Federal funding to

 non-governmental organizations supporting or providing services, either directly or indirectly, to

 removable or illegal aliens,” or “relate[s] to ‘environmental justice’ programs or ‘equity-related’

 grants,” among other inquiries. Id. The OMB Spreadsheet also asks whether the funding, “[i]f not

 covered in the preceding columns,” supports “any activities that must not be supported based on

 executive orders issued on or after January 20, 2025 (including executive orders released following

 the dissemination of this spreadsheet).” Id.




    5
       The OMB Directive relied upon a potentially broad definition of affected federal funds. See
 id. at 1 n.1 (“For the purposes of this Memorandum, Federal financial assistance includes: (i) all
 forms of assistance listed in paragraphs (1) and (2) of the definition of this term at 2 CFR 200.1;
 and (ii) assistance received or administered by recipients or subrecipients of any type except for
 assistance received directly by individuals.” (emphasis added)).
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       A copy of this document is appended to this Complaint as Exhibit E.
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          127.   On January 28, the U.S. District Court for the District of Columbia ordered an

 administrative stay of the OMB Directive pending a hearing on a motion for a temporary

 restraining order. Order of Administrative Stay (ECF No. 13), Nat’l Council of Nonprofits, et al. v.

 Trump, et al., No. 1:25-cv-00239-LLA (D.D.C. filed Jan. 28, 2025). At approximately 1:00 PM

 Eastern Time on January 29, OMB issued M-25-14, a memorandum purportedly rescinding the

 OMB Directive in two sentences: “OMB Memorandum M-25-13 is rescinded. If you have

 questions about implementing the President’s Executive Orders, please contact your agency

 General Counsel.” 7

          128.   Shortly after OMB purported to rescind the OMB Directive, however, White House

 Press Secretary Karoline Leavitt stated that the Federal Funding Freeze remained in place,

 notwithstanding the rescission of the OMB Memorandum. Leavitt announced on social media:

 “This is NOT a rescission of the federal funding freeze. It is simply a rescission of the OMB memo.

 Why? To end any confusion created by the court’s injunction. The President’s EO’s on federal

 funding remain in full force and effect, and will be rigorously implemented.”

          129.   At a press conference that same day, Leavitt stated: “So, what does this pause mean?

 It means no more funding for illegal DEI programs. It means no more funding for the Green New

 Scam that has . . . cost American taxpayers tens of billions of dollars. It means no more funding

 for transgenderism and wokeness across our federal bureaucracy and agencies. No more funding

 for Green New Deal social engineering policies.”

 Continued Implementation of the Federal Funding Freeze

          130.   Following the issuance of the OMB Directive but even before it was slated to go

 into effect, many Plaintiff States were unable to draw down vast swaths of appropriated and



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        A copy of OMB Memorandum M-25-14 is appended to this Complaint as Exhibit F.
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 awarded funding using federal funding portals, like the Payment Management Services (PMS)

 portal used by HHS and DOL, and the EPA’s payment portal, the Automatic Standard Application

 for Payments (ASAP).

        131.    For example, Oregon was unable to access its Medicaid federal funding system on

 Tuesday, January 28, even before the OMB Directive was set to take effect at 5:00 pm, causing the

 Oregon Health Authority to lose a day of work.

        132.    As another example, New Mexico’s Early Childhood Education and Care

 Department found PMS not operational at approximately 8:00 am on January 28, 2025.

        133.    And from January 27 to January 28, New York’s Office of the State Comptroller

 was not able to draw any of over $70 million in obligated funds needed across state agencies.

        134.    Similarly, after Arizona’s Department of Homeland Security (AZDHS) submitted

 draw requests to FEMA’s Payment and Reporting System (PARS) on January 28, 2025, for “critical

 homeland security needs,” the Deputy Director of AZDHS contacted FEMA to inquire about the

 OMB Directive and received an email indicating that, “FEMA is actively reviewing President

 Trump’s memo directing agencies to pause grants and other types of federal assistance issued

 Monday, January 27. We are working quickly to understand the exact implications across the full

 range of FEMA equities. We will provide additional guidance to stakeholders as soon as possible.”

        135.    On January 28, 2025, Oregon’s Department of Emergency Management, which

 depends heavily on federal emergency management grants for disaster preparedness, response,

 mitigation, and recovery, was unable to withdraw federal funds for payroll because the federal

 payment system in use was offline. As a result, the Oregon Department of Emergency Management

 was unable to cover payroll with federal funds that day.




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        136.    On January 28, 2025, California’s Employment Development Department (EDD)

 requested $1.8 million in Workforce Innovation and Opportunity Act (WIOA) funds, which EDD

 distributes to 45 regional Local Workforce Development Areas to support job search assistance,

 career services, and training opportunities. EDD had to stop sub-granting WIOA funds to the Local

 Workforce Development Areas for these programs as its payment request remained pending

 throughout the day.

        137.    On January 28, 2025, Maryland’s Department of Education attempted to submit a

 $31 million reimbursement request for Child Care Scholarship funds, which help low-income

 families pay for high-quality child care and early education programs. The PMS portal, however,

 was not initially accessible. Instead, the webpage included a banner stating: “Due to Executive

 Orders regarding potentially unallowable grant payments, PMS is taking additional measures to

 process payments. Reviews of applicable programs and payments will result in delays and/or

 rejections of payments.”

        138.    Even after the purported rescission of the OMB Directive on January 28, the

 Federal Funding Freeze has continued to manifest through chaotic actions, including frozen grant

 funding, by federal agency defendants (Agency Defendants), resulting in widespread and

 significant disruptions of funding and related activities across the Plaintiff States’ agencies—in

 many instances continuing to the present—and interfering with the Plaintiff States’ ability to plan

 for provision of and provide essential services to their residents.

        139.    For example, on both January 27 and 29, 2025, Massachusetts’s Department of

 Environmental Protection attempted to draw down grants funded by IIJA and IRA, but no

 reimbursements were issued.




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        140.    As another example, Illinois’s available funds in EPA’s payment portal, ASAP,

 decreased from $1 billion on January 28 to $52 million on January 29, with entire accounts, like

 CPRG, deleted and still inaccessible as of February 5.

        141.    And as another example, Rhode Island has received a Specialty Crop Block Grant

 to improve competitiveness of specialty crops from the USDA for each of the past four years, but

 USDA froze those funds on January 30 and as of February 12 had still not released them, pending

 “further guidance.”

        142.    Salem State University in Massachusetts attempted to draw down grant funding

 from the National Science Foundation on January 28 and received a notice via email on the same

 day that while that agency “perform[ed] a comprehensive review of the award portfolio to ensure

 compliance with recent Executive Orders, pursuant to” the OMB Directive, “all payments under

 active awards will be paused.”

        143.    Beginning on January 27, various Plaintiff States found that grants they had been

 awarded pursuant to the IRA’s Solar for All program were suspended in the federal payment portal.

 Solar for All grants remained suspended for other states on January 30.

        144.    Then, following this Court’s January 31 restraining order, Temporary Restraining

 Order, New York v. Trump (1:25-cv-00039-JJM-PAS) (Jan. 31, 2025), on or about February 4, EPA

 issued an “Update” on the IIJA and IRA funding pause, explaining that, “pursuant to the recent

 Court directive,” the agency would now “enable the obligation of financial assistance” including

 some, but not all, “programs within the [IIJA] and [IRA],” to be specified on a forthcoming

 “detailed list.” Mem. from Gregg Treml, Acting Chief Financial Officer, to Deputy Administrators,

 re: Update on Inflation Reduction Act and Infrastructure Investment and Jobs Funding Action




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 Pause (Feb. 4, 2025) (Feb. 4 EPA Memo). 8 But the referenced list included only twenty-eight IIJA

 grant programs—many of them small grant programs targeted at specific localities—and only one

 IRA program. U.S. Env’t Prot. Agency, List of EPA IIJA and IRA Grants Referenced in Feb. 4 EPA

 Memo. 9

         145.   But only two days later, on February 6, EPA Acting Deputy Administrator Chad

 McIntosh tried a different approach to freeze funding, ordering a review of all “issued grants”

 including “payments on all grant programs and awards where Agency personnel suspect that the

 grant is unlawful or contrary to Agency policy priorities,” or “fraudulent, abusive, duplicative, or

 implemented in a way that failed to safeguard Agency dollars.” Mem. from Chad McIntosh, Acting

 Deputy Administrator, “Review of Financial Assistance Programs” (Feb. 6, 2025) (Feb. 6 EPA

 Memo) (emphasis added). 10 The Feb. 6 EPA Memo purported to instruct that disbursements paused

 by the OMB Directive and any EOs it implemented “shall continue to be immediately released.”

 Id. at 2.

         146.   Despite that caveat, the very next day, EPA’s Office of Budget and Planning

 announced by email to EPA staff that, “pending a review for compliance with applicable

 administrative rules and policies,” twenty-eight IIJA and IRA programs—including CPRG and air

 monitoring grants—“are temporarily paused for new obligations or disbursements for assistance

 agreements, loans, rebates, interagency agreements, procurements, and no-cost actions.” Email

 from Budget & Planning re: Additional Information on IIJA and IRA – program review pause (Feb.

 7, 2025).




     8
       A copy of the Feb. 4 EPA Memo is appended to this Complaint as Exhibit G.
     9
       A copy of this document is appended to this Complaint as Exhibit H.
     10
        A copy of the Feb. 6 EPA Memo is appended to this Complaint as Exhibit I.
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        147.    On February 4, 2025, the California State University received a phone call from the

 U.S. Economic Development Administration (a bureau within Defendant the Department of

 Commerce), in which it was informed that the Administration would receive reimbursement

 requests but had been directed not to process and pay reimbursements for a program relating to the

 Monterey Bay Small Business Assistance and Resilience Program.

        148.    Further, Los Angeles County attempted to draw down $25.7 million in federal funds

 from the Payment Management System on January 28, as reimbursements for crucial services

 related to HIV programs, which was initially denied. Upon resubmission, the request was

 designated to be under “pending review,” and the requested funds had not been reflected in Los

 Angeles County’s accounts as of February 5.

        149.    On February 10 and 11, 2025, accounts for many programs continued to be

 suspended or were re-suspended, including, just to name a few examples: EPA Clean Air Act air

 sensors and air monitoring grants to the Massachusetts Department of Environmental Protection,

 the Rhode Island Department of Environmental Management, the Michigan Department of

 Environment, Great Lakes, and Energy, and the Kentucky Energy and Environment Cabinet;

 wildlife prevention and response funding from USDA, FEMA, the U.S. Forest Service, and the

 USGS, to the Washington Department of Natural Resources; Home Efficiency Rebates and Home

 Electrification and Appliance Rebates Program grants from DOE to the New York State Energy

 Research and Development Authority and the Kentucky Energy and Environment Cabinet; and

 DOI Abandoned Mine Land Reclamation Fund Grants to the Maryland Department of the

 Environment and the Kentucky Energy and Environment Cabinet. As of February 11, the Kentucky

 Department for Local Government, which is attached to the Office of the Governor, still was

 unable to access $733,256.19 in appropriated and obligated funds from the U.S. Department of



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 Commerce for the Economic Development Administration Partnership Planning Grant. And

 though Solar for All grant accounts were reopened in the payment portal for many Plaintiff States

 by February 7, they were suspended once again for many Plaintiff States on the afternoon of

 February 10.

 Harms to the Plaintiff States from the Federal Funding Freeze

         150.   The Federal Funding Freeze has already harmed and will continue to harm the

 Plaintiff States and their residents in myriad ways. While a full account of the impacts of the

 countless interrupted federal grant programs (surpassing $1 trillion in fiscal year (FY) 202411) that

 benefit the Plaintiff States is impossible here, the following examples demonstrate the Federal

 Funding Freeze’s alarming toll.

         151.   The impact of the Federal Funding Freeze on the State of Washington is one

 example. For the most recent fiscal year—FY2024, running from July 1, 2023, to June 30, 2024—

 Washington received over $27 billion in federal funding. This comprised approximately 32% of

 Washington’s total budget for FY2024.

         152.   More than $14 billion of these funds are threatened by the Federal Funding Freeze,

 including such critically important programs as: highway planning and construction funds (over

 $952 million in FY2024 state expenditures); Child Care and Development Block Grants (over

 $393 million in FY2024 state expenditures); National School Lunch Program (over $361 million

 in FY2024 state expenditures); Title I education grants ($310 million in FY2024 state

 expenditures); Special Education grants (over $275 million in FY2024 state expenditures); child




    11
        Rebecca Thiess, Kate Watkins & Justin Theal, “Record Federal Grants to States Keep
 Federal Share of State Budgets High,” Pew Charitable Trust (Sept. 10, 2024),
 https://www.pewtrusts.org/en/research-and-analysis/articles/2024/09/10/record-federal-grants-to-
 states-keep-federal-share-of-state-budgets-high.
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 support enforcement (over $134 million in FY2024 state expenditures); allergy and infectious

 disease research (over $121 million in FY2024 state expenditures); LIHEAP (over $96 million in

 FY2024 state expenditures); substance abuse treatment block grants (over $65 million in FY2024

 state expenditures); veterans nursing care funding (over $59 million in FY2024 state

 expenditures); and hundreds or thousands of other programs, covering everything from

 immunizations to clean water to adoption assistance to transit to childcare to global AIDS

 prevention to National Guard operations to crime victim assistance to immigration and refugee

 assistance to wildlife restoration, and on and on.

         153.    Washington simply does not have funds to cover all of these necessary programs

 that are currently funded through federal dollars. Nor does it have the funds to backfill federal

 dollars while continuing to pay for the many state-funded programs on which its residents rely.

 Thus, pausing or terminating federal funds necessarily entails cuts—likely drastic cuts—to key

 services provided by state agencies on which Washington residents depend. This threat to federal

 funding comes at a precarious time for Washington. Due to factors like inflation, higher projected

 caseloads in several safety net programs, and revenue declines, Washington is facing a forecasted

 budget deficit of over $12 billion over the next four years.

         154.    Washington’s Legislature is currently in session trying to address this budget

 shortfall and pass a budget for the FY2025–2027 biennium. Many Washington state agencies are

 facing budget cuts of between three and six percent to account for the lack of funding.

         155.    As in Washington, the Federal Funding Freeze interferes with critical programs in

 all of the Plaintiff States and makes it nearly impossible for state agencies intelligently to prioritize

 budgeting needs.




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        156.    For example, state health systems rely on federal grant programs to provide

 essential health services to millions of residents. State Departments of Health alone receive billions

 in federal grant funding. HHS grants support hospital facilities, community health centers, lab

 testing, addiction treatment centers, services for people living with disabilities, and facilities for

 aging people. The New York Department of Health alone has nearly $40 billion in federal funding

 obligated for FY2025. For California’s fiscal year ending June 30, 2025, the state’s federal

 Medicaid funding is $107.5 billion, and California’s Department of Health Care Services receives

 more than $125 million in other federal funds annually for other health care services. Hundreds of

 millions of dollars from these federal funds support the facilities that provide community

 healthcare, including in rural and other under-resourced areas. The Federal Funding Freeze

 impedes the Plaintiff States from providing critical healthcare—from lifesaving measures to

 Medicaid and basic health care services for low-income, elderly, pregnant, and disabled

 individuals. The Federal Funding Freeze thus harms the health and safety of the Plaintiff States’

 residents and requires the Plaintiff States to incur significant expenses to attempt to cover the most

 pressing gaps in healthcare coverage.

        157.    Plaintiff States also rely on federal funds for disaster relief and management. For

 example, California is relying heavily on FEMA’s assistance to recover from recent devasting fires.

 Funds authorized by President Biden’s declaration of a major disaster pursuant to the Stafford Act

 are critical to helping the state recover from a disaster whose economic losses are estimated at

 upwards of $150 billion. Similarly, North Carolina is still reeling from the catastrophic damages

 sustained during Hurricane Helene in September 2024, and needs federal assistance to rebuild

 homes, businesses, roads, bridges, and other critical infrastructure. Indeed, both President Biden

 and President Trump authorized expenditures of FEMA funding to assist North Carolina’s



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 recovery. Kentucky currently has 14 presidentially declared disasters for which it is relying on

 FEMA for assistance and reimbursement. The Federal Funding Freeze impedes these critical

 disbursements and will continue to harm disaster relief, management, and recovery.

        158.    Federal infrastructure funding often provides emergency augmentation of state

 budgeted and planned funds when disaster strikes. For example, Rhode Island experienced the

 unexpected failure of a bridge span carrying a major interstate highway, the Washington Bridge,

 that has a daily traffic volume of 90,000 vehicles and has been closed since December 2023. Rhode

 Island’s Congressional Delegation wrote to Acting Director Vaeth on January 27, 2025, inquiring

 after the $220 million in competitive grant funding allocated for the bridge and the balance of the

 $600 million in competitive grant funding for other critical infrastructure, including bridges along

 I-95, currently awarded to Rhode Island. As of February 12, there has been no response to clarify

 that this money would not be impacted.

        159.    The Plaintiff States’ ability to provide for public safety and law enforcement are

 also hindered by the Federal Funding Freeze. In FY2024, the Federal Edward Byrne JAG grant

 program gave over $180 million in funding to the states to fund essential law enforcement and

 criminal justice programs, including programs that prevent and prosecute hate crimes, address the

 opioid crisis, and support mental health treatment services. Other grant programs administered by

 the U.S. Department of Justice fund initiatives to combat violence against women and internet

 crimes against children, support community policing, and provide services to victims of crimes.

 The High Intensity Drug Trafficking Areas program provides assistance to federal, state, local, and

 Tribal law enforcement agencies operating in areas determined to be critical drug-trafficking

 regions of the United States. The Federal Funding Freeze significantly impedes state and local

 government efforts to address violent crime and the proliferation of illegal drugs.



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        160.    State education systems also suffer due to the Federal Funding Freeze. The

 Department of Education has $2.1 billion obligated for FY2025 public education in New York

 alone. Included in that funding are formula grants for local education agencies to improve teaching

 and learning in high-poverty schools for children failing, or most at-risk of failing, to meet

 academic standards. Because this is a formula grant, the allocation is to be made automatically

 based on a statutory formula. Such grants serve millions of children nationwide.

        161.    School districts nationwide receive billions of dollars in special education funding

 from the federal government to support critical services for millions of students with disabilities

 nationwide. For the school year 2024–25, for example, California is receiving $1.5 billion.

 Because this is also a formula grant, the allocation is to be made automatically. Without these

 funds, there would be disruption to educational services provided to students with disabilities, loss

 of related services (such as physical therapy, speech therapy, occupational therapy, and services

 for deaf or blind students), and delayed or reduced payments to staff and potential layoffs.

        162.     The Plaintiff States also rely on federal funding to provide free and low-cost meals

 to low-income children, professional development for teachers, academic interventions such as

 tutoring, after-school programs and early childhood education, and anti-bullying programming,

 among many other critical services. California draws approximately $40 to $50 million in federal

 funds per week for school nutrition services. The Federal Funding Freeze thus has catastrophic

 impacts on student learning in the Plaintiff States.

        163.    State institutions of higher education also receive billions of dollars in grants from

 Defendants—including the Department of Health and Human Services, the Department of

 Education, the National Science Foundation, the National Aeronautics and Space Administration,

 and USAID—not including direct student aid, that fund essential research in every conceivable



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 area of study. For instance, the University of California has multiple active USAID grants totaling

 millions of dollars. The Federal Funding Freeze chills research and undermines the Plaintiff States’

 ability to provide higher education, especially to students who cannot independently afford the

 costs of private colleges.

        164.    The Plaintiff States’ job training and workforce development programs also suffer

 due to the Federal Funding Freeze. For example, the New Mexico Department of Workforce

 Solutions receives approximately 89% of its funding from the federal government, including

 funding for all personnel and operations for the State’s Unemployment Insurance program.

 Without this funding, New Mexico can neither provide the benefits to newly unemployed workers

 to which they are entitled, nor provide job training to returning veterans who lack critical

 workplace skills.

        165.    The Federal Funding Freeze hampers the Plaintiff States’ ability to provide services

 to older Americans and adults with disabilities. Federal funding currently supports services that

 help older Americans remaining in their homes and communities, rather than in nursing homes and

 similar facilities. The Federal Funding Freeze jeopardizes these services, including meal delivery

 and transportation to medical appointments, for the Plaintiff States’ residents.

        166.    The Federal Funding Freeze also would prevent the Plaintiff States from

 completing much needed transportation infrastructure projects, including repairs and upgrades.

 For example, the Maryland Transportation Authority is awaiting $60 million in promised

 reimbursement in the coming months for the costs of removal and salvage of debris from the

 collapsed Francis Scott Key Bridge. Plaintiff States may be unable to complete necessary repair

 projects without federal assistance, leaving old infrastructure in place and increasing the risk of

 catastrophic events.



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         167.    The Federal Funding Freeze, including the Unleashing EO and agency actions

 implementing it, impede the Plaintiff States’ ability to provide essential services to protect the

 health, safety, and welfare of their residents through critical IIJA- and IRA-funded programs.

         168.    For example, IRA funding provides significant resources to the Plaintiff States to

 remediate contamination and pollution, including the cleanup of sites contaminated with hazardous

 waste and plugging orphaned oil and gas wells. The Federal Funding Freeze also jeopardizes

 initiatives to develop clean energy resources and realize associated reliability, bill savings, job

 creation, and other benefits for the Plaintiff States and their residents. It similarly impedes Plaintiff

 States’ efforts to ensure clean air and water for their residents, by interfering with projects that help

 states monitor air quality, improve water quality, and ensure availability of clean drinking water.

 Further, the Federal Funding Freeze thwarts the Plaintiff States’ plans to implement waste

 management, reduction, and recycling plans. And the freeze also causes the loss of workforce

 training programs, career opportunities, and community education opportunities within the

 Plaintiff States.

         169.    The Federal Funding Freeze also has caused significant budgetary confusion,

 uncertainty, and risk among agencies of the Plaintiff States that administer IIJA- and IRA-funded

 programs and services. Dozens, if not hundreds, of Plaintiff States’ agencies have experienced

 confusion and budgetary uncertainty as they have been cut off from access to funds to which they

 are entitled. These agencies’ inability to access these funds and fear of non-reimbursement are

 already interfering with their ability to budget and plan, including with respect to planned hiring.

 The Federal Funding Freeze has harmed their ability to work with and reimburse subgrantees,

 potentially risking cancellation or modification of contracts with state vendors and subgrantees,




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 and it will continue to harm their goodwill and reputation among project partners and participants,

 making it more difficult to recruit project partners in the future.

        170.    The lack of notice for the Federal Funding Freeze compounds these injuries. The

 Plaintiff States were unable to prepare for or mitigate the pause in federal funding, creating chaos

 and confusion. For example, given the less than 24-hours notice before the OMB Directive took

 effect, Plaintiff States were unable to set aside funding for the anticipated shortfall in response,

 work with their legislatures to appropriate funds, or take other similar measures to lessen the blow.

 And both the breadth of the Federal Funding Freeze and the speed with which the Defendants

 imposed it renders implausible any claim, in any of the EOs or any subsequent agency actions, that

 funding is halted only “to the extent permissible by law” or any allowance, as in the OMB

 Directive, for exceptions on a case-by-case basis.

        171.    The Federal Funding Freeze has sown chaos and confusion around whether Plaintiff

 States can continue to receive disbursements of funding already obligated to them. And this

 uncertainty surrounds all grant programs, without regard to the specific statutes that authorize

 particular grant programs or what regulations or terms govern their award and use. For example,

 the OMB Directive references categories of funding with no clear reference to federal law,

 including categories like “woke gender ideology,” terms not appearing in any statute governing

 the grant of federal financial assistance, and “green new deal social engineering policies,” an

 apparent reference to proposed legislation that was never enacted.

        172.    State agencies also administer numerous federal grants and direct grant programs

 of their own—some of which pass through federal funding. State agencies in the Plaintiff States

 do not know when or if disbursements and obligations may resume, complicating the important

 work they do to ensure that state residents have access to healthcare services, education support,



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 appropriate law enforcement, reliable infrastructure, among many other missions. They are also

 now unable to evaluate whether they need to take action under their own sub-agreements or

 contracts to mitigate any downstream effects of the pause.

         173.   Thousands of nongovernmental and nonprofit organizations operating within the

 Plaintiff States also rely on federal funding to provide services to the Plaintiff States’ residents, to

 the benefit of the Plaintiff States. Such organizations are engaged in federally funded projects such

 as improving heat resilience in cities disproportionately impacted by heat and poor air quality,

 promoting local sourcing of food, improving food accessibility and sustainability, and subgranting

 to public health and environmental projects. For such organizations, the Federal Funding Freeze

 could result in laid off workers as well as significant harms to the communities they serve,

 including at-risk populations. And such harms would have ripple effects within the Plaintiff States,

 increasing health care costs and regulatory burdens to make up for the loss of the pollution

 reduction, food security, and other benefits attributable to these organizations’ reliance on federal

 funding.

         174.   In sum, across all Plaintiff States, the Federal Funding Freeze has caused severe

 harm across a range of programs and services, and will continue to cause such harm if it remains

 in effect.

                                       CAUSES OF ACTION

                                               COUNT I

  Substantive Violation of the Administrative Procedure Act—Contrary to Law, Ultra Vires
                                (Against Agency Defendants)

         175.   Plaintiff States incorporate by reference the allegations contained in the preceding

 paragraphs.

         176.   Agency Defendants are “agenc[ies]” under the APA. 5 U.S.C. § 551(1).

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         177.    Under the APA, a court must “hold unlawful and set aside agency action, findings,

 and conclusions found to be . . . contrary to constitutional right, power, privilege, or immunity,” or

 “in excess of statutory jurisdiction, authority, or limitations, or short of statutory right.” 5 U.S.C.

 § 706(2)(B)–(C).

         178.    Congress enacted the APA “as a check upon administrators whose zeal might

 otherwise have carried them to excesses not contemplated in legislation creating their offices.”

 Loper Bright Enters. v. Raimondo, 603 U.S. 369, 391 (2024) (quoting U.S. v. Morton Salt, 338

 U.S. 632, 644 (1950)). In Loper Bright, the Supreme Court clarified that historical principles of

 “respect” did not equate to deference, and that “Section 706 makes clear that agency interpretations

 of statutes—like agency interpretations of the Constitution—are not entitled to deference.” Id. at

 392 (emphasis in original). Rather, it “remains the responsibility of the court to decide whether the

 law means what the agency says.” Id. (quoting Perez v. Mortg. Bankers Ass’n, 575 U.S. 92, 109

 (2015) (Scalia, J., concurring in judgment)).

         179.    An agency may not take any action that exceeds the scope of its constitutional or

 statutory authority.

         180.    No constitutional or statutory authority authorizes OMB to order federal agencies

 to refrain from fulfilling their statutory duties, or to violate federal law.

         181.    No constitutional or statutory authority authorizes federal agencies to refrain from

 fulfilling their statutory duties, or to violate federal law.

         182.    The Agency Defendants lack authority to impose and maintain the Federal Funding

 Freeze, which is an across-the-board pause on disbursement of categories of federal funds without

 regard to the individual authorizing statutes, regulations, and terms that govern each funding

 stream. This Freeze is unauthorized, unprecedented, and not entitled to deference by this Court.



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        183.     As a general matter, the “purpose statute” requires that “[a]ppropriations shall be

 applied only to the objects for which the appropriations were made except as otherwise provided

 by law,” 31 U.S.C. § 1301(a), meaning that funds can only be used for the purposes that Congress

 has designated. Federal agencies therefore lack authority to freeze funds immediately,

 categorically, and indefinitely, particularly where the stated purpose of that freeze is to pause,

 cancel, or reallocate funding to sources which do not align with the purpose for which those funds

 were appropriated by Congress.

        184.     Moreover, in implementing the Federal Funding Freeze, the Agency Defendants

 have acted contrary to the statutes and regulations governing the disbursement of federal funds for

 the impacted programs.

        185.     For example, in the IIJA and IRA, Congress appropriated billions of dollars to

 federal programs that support critical energy and infrastructure projects, among other legislative

 priorities, and used mandatory language to describe many of the most significant funding decisions

 that it made. For instance, the IIJA appropriated almost $30 billion for use in constructing and

 rehabilitating state water, wastewater, and sewage facilities, and directed that EPA “shall make

 capitalization grants to each State” for water pollution control pursuant to a statutory formula. 33

 U.S.C. §§ 1381(a), 1384(a), (c)(2); see also 42 U.S.C. § 300j-12(a)(1)(A), (D) (similar for drinking

 water grant).

        186.     Similarly, the IRA established a program to subsidize low- and moderate-income

 households’ purchase of heat pump systems—and directed the Secretary of Energy to “reserve

 funds . . . for each State energy office” based on an allotment formula, 42 U.S.C.

 § 18795a(a)(2)(A)(i), that does not give the Secretary the power to decline to expend funds.




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        187.    Congress has elsewhere appropriated mandatory funds to the Plaintiff States to fund

 programs for their residents ranging from special education to mental health and substance abuse

 treatment to power and heat for low-income individuals, and imposed specific limits on the

 relevant agencies’ power to withhold such funds (generally requiring notice and a hearing). See 20

 U.S.C. §§ 1411, 1412, 1416 (Individuals with Disabilities Education Act); 42 U.S.C. §§ 300x(a),

 300x-7(a), 300x-21(a), 300x-33(a) (mental health and substance abuse treatment); 42 U.S.C.

 §§ 8621, 8623, 8626, 8627 (LIHEAP).

        188.    Federal agencies lack the authority to immediately, categorically, and indefinitely

 pause obligated grant funding in a purported effort to root out waste and fraud, as EPA claimed to

 do in its Feb. 7 EPA Memo.

        189.    Moreover, the Impoundment Control Act of 1974, 2 U.S.C. §§ 681 et seq.,

 circumscribes the Agency Defendants’ authority to immediately, categorically, and indefinitely

 pause obligated grant funding. The Impoundment Control Act permits the Executive Branch to

 impound (i.e., decline to spend) federal funds only under a very narrow set of specific

 circumstances. The Impoundment Control Act does not permit the Executive Branch to defer

 appropriated funds based on policy disagreement with Congressional priorities, nor rescind them

 without Congressional approval. Nor does the Impoundment Control Act permit agencies to

 unilaterally, categorically, immediately, and indefinitely freeze disbursement of federal funds.

        190.    The Federal Funding Freeze thus violates the express terms and purpose of

 appropriations law, authorizing and appropriating statutes, governing regulations, and terms and

 conditions of operative grant agreements obligated pursuant to those authorities.

        191.    Pursuant to 5 U.S.C. § 706 and 28 U.S.C. § 2201, Plaintiff States are entitled to a

 declaration that the Agency Defendants lack legal authority to categorically pause or freeze the



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 disbursement of federal funds contrary to congressional directive and intent, and have, in so doing,

 acted contrary to law, outside of statutory authority, and in violation of the APA.

         192.   Plaintiff States are also entitled to vacatur of the OMB Unleashing Directive, the

 OMB Directive, and Agency Defendants’ other actions implementing and maintaining the Federal

 Funding Freeze pursuant to 5 U.S.C. § 706, and a preliminary and permanent injunction preventing

 the Agency Defendants from maintaining or reinstating the Federal Funding Freeze, including

 through implementation of EOs, such as the Unleashing EO, and agency actions implementing

 them.

                                             COUNT II

    Substantive Violation of the Administrative Procedure Act—Arbitrary & Capricious
                                (Against Agency Defendants)

         193.   Plaintiff States incorporate by reference the allegations contained in the preceding

 paragraphs.

         194.   Defendants include “agenc[ies]” under the APA 5 U.S.C. § 551(1).

         195.   The APA requires that a court “hold unlawful and set aside agency action, findings,

 and conclusions found to be . . . arbitrary, capricious, an abuse of discretion, or otherwise not in

 accordance with law.” 5 U.S.C. § 706(2)(A).

         196.   An agency action is arbitrary or capricious where it is not “reasonable and

 reasonably explained.” FCC v. Prometheus Radio Project, 592 U.S. 414, 423 (2021). An agency

 must provide “a satisfactory explanation for its action[,] including a rational connection between

 the facts found and the choice made.” Motor Vehicle Mfrs. Ass’n of the U.S., Inc. v. State Farm

 Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983) (internal quotation marks omitted).

         197.   That “reasoned explanation requirement of administrative law . . . is meant to

 ensure that agencies offer genuine justifications for important decisions, reasons that can be

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 scrutinized by courts and the interested public.” Dep’t of Commerce v. New York, 588 U.S. 752,

 785 (2019). Agencies may not rely on explanations that are “contrived” or “incongruent with what

 the record reveals about the agency’s priorities and decisionmaking process.” Id.

        198.    An action is also arbitrary and capricious if the agency “failed to consider . . .

 important aspect[s] of the problem” before it. Dep’t of Homeland Sec. v. Regents of the Univ. of

 Calif., 591 U.S. 1, 25 (2020) (quoting Motor Vehicle Mfrs., 463 U.S. at 43).

        199.    Because the Agency Defendants provided no reasoned basis for pausing the

 disbursement and obligation of trillions of federal dollars and failed to consider the consequences

 of those actions, those actions were arbitrary and capricious. Neither the OMB Unleashing

 Directive, the OMB Directive, nor Agency Defendants’ other directives implementing and

 maintaining the Federal Funding Freeze contain any reasoning regarding their immediate,

 categorical, and indefinite scope or regarding the impact and chaos they have caused, including as

 to the Plaintiff States and their residents, who rely on federal funding for key programs and

 services.

        200.    Moreover, neither the OMB Unleashing Directive, the OMB Directive, nor Agency

 Defendants’ other directives implementing and maintaining the Federal Funding Freeze provide

 any reasoned basis for refusing to disburse funds authorized and appropriated by Congress contrary

 to congressional intent and directive. Agency Defendants’ actions in implementing the Federal

 Funding Freeze are thus arbitrary and capricious.

        201.    Defendants have recently characterized the freezing of some funding streams for

 compliance reasons or for reasons related to budget periods, which is implausible given the timing

 of the immediate, categorical, and indefinite nature of the Federal Funding Freeze, and the massive

 number of funding streams affected.



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        202.    Agency Defendants’ recent efforts to immediately, categorically, and indefinitely

 pause obligated grant funding purportedly to root out waste and fraud, as EPA claimed to do in its

 Feb. 7 EPA Memo, is a pretextual effort to achieve the Federal Funding Freeze, and is thus also

 arbitrary and capricious.

        203.    Pursuant to 5 U.S.C. § 706 and 28 U.S.C. § 2201, Plaintiff States are entitled to a

 declaration that the OMB Unleashing Directive, the OMB Directive, and Agency Defendants’

 other actions implementing and maintaining the Federal Funding Freeze violate the APA because

 they are arbitrary and capricious.

        204.    Plaintiff States are also entitled to vacatur of the OMB Unleashing Directive, the

 OMB Directive, and Agency Defendants’ other actions implementing and maintaining the Federal

 Funding Freeze pursuant to 5 U.S.C. § 706, and a preliminary and permanent injunction preventing

 Agency Defendants from maintaining or reinstating the Federal Funding Freeze, including through

 implementation of EOs, such as the Unleashing EO, and agency actions implementing them.

                                            COUNT III

                      Equitable Ultra Vires—Conduct Outside the Scope of
                        Statutory Authority Conferred on the Executive
                                    (Against All Defendants)

        205.    Plaintiff States incorporate by reference the allegations contained in the preceding

 paragraphs.

        206.    Federal courts possess the power in equity to grant injunctive relief “with respect

 to violations of federal law by federal officials.” Armstrong v. Exceptional Child Ctr., Inc., 575

 U.S. 320, 326–27 (2015). Indeed, the Supreme Court has repeatedly allowed equitable relief

 against federal officials who act “beyond th[e] limitations” imposed by federal statute. Larson v.

 Domestic & Foreign Com. Corp., 337 U.S. 682, 689 (1949).



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        207.    Defendants’ conduct in initiating and maintaining the Federal Funding Freeze

 without regard to the individual authorizing statutes, regulations and terms that govern each

 funding stream is contrary to law and outside of Defendants’ authority. See also ¶¶ 182–90, supra.

 For example, implementation of the categorical, immediate, and indefinite pause on federal funds

 under the IRA and IIJA announced in the Unleashing EO exceeded Defendants’ authority.

        208.    Pursuant to 28 U.S.C. § 2201, Plaintiff States are entitled to a declaration that the

 Federal Funding Freeze—including as implemented through the Unleashing EO—is contrary to

 law and outside of Defendants’ authority.

        209.    Plaintiff States are further entitled to a preliminary and permanent injunction

 preventing Agency Defendants from maintaining or reinstating the Federal Funding Freeze,

 including through implementation of EOs, such as the Unleashing EO, and agency actions

 implementing them.

                                             COUNT IV

          Violation of the Separation of Powers—Usurping the Legislative Function
                                   (Against All Defendants)

        210.    Plaintiff States incorporate by reference the allegations contained in the preceding

 paragraphs.

        211.    Federal courts possess the power in equity to grant injunctive relief “with respect

 to violations of federal law by federal officials.” Armstrong v. Exceptional Child Ctr., Inc., 575

 U.S. 320, 326–27 (2015). “[T]he President’s actions may . . . be reviewed for constitutionality.”

 Franklin v. Mass., 505 U.S. 788, 801 (1992) (citations omitted). Plaintiff States are “entitled to

 invoke the equitable jurisdiction to restrain enforcement” of unconstitutional acts by federal

 officials, including “executive orders.” Panama Ref. Co. v. Ryan, 293 U.S. 388, 414 (1935).




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        212.    The Constitution “grants the power of the purse to Congress, not the President.”

 City & Cnty. of San Francisco v. Trump, 897 F.3d 1225, 1231 (9th Cir. 2018); see U.S. Const. art.

 I, § 9, cl. 7 (Appropriations Clause); U.S. Const. art. I, § 8, cl. 1 (Spending Clause).

        213.    Congress also possesses exclusive power to legislate. Article I, Section 1 of the

 Constitution enumerates that: “[a]ll legislative Powers herein granted shall be vested in a Congress

 of the United States, which shall consist of a Senate and a House of Representatives.” U.S. Const.

 art. I, § 1; see also Clinton v. City of New York, 524 U.S. 417, 438 (1998) (“There is no provision

 in the Constitution that authorizes the President to enact, to amend, or to repeal statutes.”).

        214.    Consistent with these principles, the executive acts at the lowest ebb of his

 constitutional authority and power when he acts contrary to the will of Congress by attempting to

 unilaterally decline to spend appropriated funds. See Youngstown Sheet & Tube Co. v. Sawyer, 343

 U.S. 579, 637–38 (1952) (Jackson, J., concurring).

        215.    The Federal Funding Freeze violates the separation of powers because the executive

 branch has overridden the careful judgments of Congress by refusing to disburse funding for

 innumerable federal grant programs. See also ¶¶ 182–90, supra. For example, implementation of

 the categorical, immediate, and indefinite pause on federal funds under the IIJA and IRA

 announced in the Unleashing EO is a clear violation of the separation of powers.

        216.    Pursuant to 28 U.S.C. § 2201, Plaintiffs are entitled to a declaration that the Federal

 Funding Freeze—including through the EOs, including the Unleashing EO, and agency actions

 implementing them—violates the constitutional separation of powers doctrine, and impermissibly

 arrogates to the executive power that is reserved to Congress.

        217.    Plaintiff States are further entitled to a preliminary and permanent injunction

 preventing Agency Defendants from maintaining or reinstating the Federal Funding Freeze,



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 including through implementation of EOs, such as the Unleashing EO, and agency actions

 implementing them.

                                              COUNT V

                      Violation of the Spending Clause and Tenth Amendment
                                       (Against All Defendants)

         218.     Plaintiff States incorporate by reference the allegations contained in the preceding

 paragraphs.

         219.     Federal courts possess the power in equity to grant injunctive relief “with respect

 to violations of federal law by federal officials.” Armstrong v. Exceptional Child Ctr., Inc., 575

 U.S. 320, 326–27 (2015). “[T]he President’s actions may . . . be reviewed for constitutionality.”

 Franklin v. Mass., 505 U.S. 788, 801 (1992). Plaintiff States are “entitled to invoke the equitable

 jurisdiction to restrain enforcement” of unconstitutional acts by federal officials, including

 “executive orders.” Panama Ref. Co. v. Ryan, 293 U.S. 388, 414 (1935).

         220.     The Spending Clause of the U.S. Constitution provides that Congress—not the

 Executive—“shall have Power to lay and collect Taxes, Duties, Imposts and Excises, to pay the

 Debts and provide for the common Defence and general Welfare of the United States . . . .” U.S.

 Const. art. I, § 8, cl. 1.

         221.     The Tenth Amendment of the U.S. Constitution provides that “The powers not

 delegated to the United States by the Constitution, nor prohibited by it to the States, are reserved

 to the States respectively, or to the people.” U.S. Const. amend. X.

         222.     When actions by the federal government come in the form of “threats to terminate

 . . . significant independent grants,” the actions “are properly viewed as a means of pressuring the

 States to accept policy changes” and are barred by the Tenth Amendment. Nat’l Fed’n of Indep.

 Bus. v. Sebelius, 567 U.S. 519, 580 (2012).

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        223.    States must also have fair notice of the terms that apply to the disbursement of funds

 to them. See Pennhurst State Sch. & Hosp. v. Halderman, 451 U.S. 1, 17, 25 (1981); Nat’l Fed’n

 of Indep. Bus. v. Sebelius, 567 U.S. 519, 583–84 (2012).

        224.    The Federal Funding Freeze has altered the terms upon which grants were obligated

 and disbursed contrary to Congressional authority. These alterations are coercive, retroactive,

 ambiguous, and unrelated to the purpose of the myriad grants affected.

        225.    Pursuant to 28 U.S.C. § 2201, Plaintiff States are entitled to a declaration that the

 Federal Funding Freeze—including through the EOs, such as the Unleashing EO, and agency

 actions implementing them—violates the Spending Clause.

        226.    Plaintiff States are also entitled to a preliminary and permanent injunction barring

 the Agency Defendants from maintaining or reinstating the Federal Funding Freeze, including

 through the EOs, such as the Unleashing EO, and agency actions implementing them.

                                            COUNT VI

                              Violation of the Presentment Clauses
                                    (Against All Defendants)

        227.    Plaintiff States incorporate by reference the allegations contained in the preceding

 paragraphs.

        228.    Federal courts possess the power in equity to grant injunctive relief “with respect

 to violations of federal law by federal officials.” Armstrong v. Exceptional Child Ctr., Inc., 575

 U.S. 320, 326–27 (2015). “[T]he President’s actions may . . . be reviewed for constitutionality.”

 Franklin v. Mass., 505 U.S. 788, 801 (1992). Plaintiff States are “entitled to invoke the equitable

 jurisdiction to restrain enforcement” of unconstitutional acts by federal officials, including

 “executive orders.” Panama Ref. Co. v. Ryan, 293 U.S. 388, 414 (1935).




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         229.    The Constitution prescribes a “single, finely wrought and exhaustively considered[]

 procedure” for enacting legislation: passage of a bill by both houses of Congress and presentment

 to the President for his signature or veto. Immigration & Naturalization Serv. v. Chadha, 462 U.S.

 919, 951 (1983); see U.S. Const. art. I, § 7, cls. 2, 3.

         230.    This procedure is an exclusive one. Therefore, the President’s attempt to

 unilaterally decline to expend funds violates the Presentment Clauses by attempting to repeal

 federal laws that the President dislikes without following the “finely wrought” procedures for

 doing so. Chadha, 462 U.S. at 951

         231.    Pursuant to 28 U.S.C. § 2201, Plaintiff States are entitled to a declaration that the

 Federal Funding Freeze—including through the EOs, including the Unleashing EO, and agency

 actions implementing them—violates the Presentment Clauses of the U.S. Constitution.

         232.    Plaintiff States are further entitled to a preliminary and permanent injunction

 preventing Agency Defendants from maintaining or reinstating the Federal Funding Freeze,

 including through the EOs, such as the Unleashing EO, and agency actions implementing them.

                                              COUNT VII

                               Violation of the Appropriations Clause
                                      (Against All Defendants)

         233.    Plaintiffs incorporate by reference the allegations contained in the preceding

 paragraphs.

         234.    Federal courts possess the power in equity to grant injunctive relief “with respect

 to violations of federal law by federal officials.” Armstrong v. Exceptional Child Ctr., Inc., 575

 U.S. 320, 326–27 (2015). “[T]he President’s actions may . . . be reviewed for constitutionality.”

 Franklin v. Mass., 505 U.S. 788, 801 (1992). Plaintiff States are “entitled to invoke the equitable




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 jurisdiction to restrain enforcement” of unconstitutional acts by federal officials, including

 “executive orders.” Panama Ref. Co. v. Ryan, 293 U.S. 388, 414 (1935).

           235.   The Appropriations Clause provides that “[n]o Money shall be drawn from the

 Treasury, but in Consequence of Appropriations made by Law.” U.S. Const. Art. I, § 9, cl. 7. The

 Appropriations Clause is a “straightforward and explicit command” that “no money can be paid

 out of the Treasury unless it has been appropriated by an act of Congress.” Office of Pers. Mgmt.

 v. Richmond, 496 U.S. 414, 424 (1990) (quoting Cincinnati Soap Co. v. United States, 301 U.S.

 308, 321 (1937)).

           236.   Defendants’ unilateral executive action to decline to expend appropriated funds, see

 supra at ¶¶ 109–49 (describing Federal Funding Freeze), therefore infringes on Congress’s

 appropriations power and is unconstitutional.

           237.   Pursuant to 28 U.S.C. § 2201, Plaintiff States are entitled to a declaration that the

 Federal     Funding    Freeze—including     through    implementation     of   EOs,   including   the

 Unleashing EO, and agency actions implementing them—violates the Appropriation Clause of the

 U.S. Constitution.

           238.   Plaintiff States are further entitled to a preliminary and permanent injunction

 preventing Agency Defendants from maintaining or reinstating the Federal Funding Freeze,

 including through the EOs, such as the Unleashing EO, and agency actions implementing them.

                                             COUNT VIII

                                  Violation of the Take Care Clause
                                       (Against All Defendants)

           239.   The Plaintiff States reallege and reincorporate the foregoing allegations.

           240.   Plaintiff States incorporate by reference the allegations contained in the preceding

 paragraphs.

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           241.   The Take Care Clause provides that the Executive must “take Care that the Laws

 be faithfully executed.” U.S. Const. Art. II, § 3; Utility Air Reg. Grp. v. Env’t Prot. Agency, 573

 U.S. 302, 327 (2014) (“Under our system of government, Congress makes laws and the President

 . . . ‘faithfully execute[s]’ them.”).

           242.   The Executive violates the Take Care Clause where it declines to execute or

 otherwise undermines statutes enacted by Congress and signed into law or duly promulgated

 regulations implementing such statutes. See In re United Mine Workers of Am. Int’l Union, 190

 F.3d 545, 551 (D.C. Cir. 1999) (“the President is without authority to set aside congressional

 legislation by executive order”); Kendall v. United States, 37 U.S. 524, 613 (1838) (rejecting

 argument that by charging the President with faithful execution of the laws, the Take Care clause

 “implies a power to forbid their execution”).

           243.   Defendants’ conduct in initiating and maintaining the Federal Funding Freeze

 without regard to the individual authorizing statutes, regulations and terms that govern each

 funding stream was contrary to the Executive’s duty to faithfully execute the laws enacted by

 Congress.

           244.   For example, implementation of the categorical, immediate, and indefinite pause

 on federal funds under the IRA and IIJA announced in the Unleashing EO violated the Take Care

 Clause.

           245.   Pursuant to 28 U.S.C. § 2201, Plaintiff States are entitled to a declaration that the

 Federal Funding Freeze—including through the EOs, such as the Unleashing EO, and agency

 actions implementing them—violates the Take Care Clause of the U.S. Constitution.




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        246.   Plaintiff States are further entitled to a preliminary and permanent injunction

 preventing Agency Defendants from maintaining or reinstating the Federal Funding Freeze,

 including through the EOs, such as the Unleashing EO, and agency actions implementing them.


                                      PRAYER FOR RELIEF

 WHEREFORE, Plaintiff States pray that this Court:

       i.   Issue a judicial declaration that the Federal Funding Freeze, effected through the

            Executive Orders, agency actions implementing them, and OMB directives, is

            unconstitutional and/or unlawful because it violates the APA and the United States

            Constitution;

      ii.   Pursuant to 5 U.S.C. § 706, vacate Agency Defendants’ actions implementing the

            Federal Funding Freeze;

     iii.   Preliminarily and permanently enjoin the Agency Defendants from implementing the

            Federal Funding Freeze;

     iv.    Issue a writ of mandamus compelling the Agency Defendants to immediately cease

            implementing the Federal Funding Freeze without further delay and to release funds

            withheld under the Federal Funding Freeze;

      v.    Award the Plaintiff States their reasonable fees, costs, and expenses, including

            attorneys’ fees, pursuant to 28 U.S.C. § 2412; and

     vi.    Grant other such relief as this Court may deem proper.




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                                       Respectfully submitted,

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